
USCA1 Opinion

	













                                [Not for Publication]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 95-2227

                                 GERALD W. CLEMENTE,

                                Plaintiff, Appellant,

                                          v.

                               ROBERT Q. CRANE, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Douglas P. Woodlock, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                            Cyr and Lynch, Circuit Judges.
                                           ______________

                                 ____________________

            Richard E.  Bachman, with whom John  A. King  and Hale, Sanderson,
            ___________________            _____________      ________________
        Byrnes &amp; Morton were on brief, for appellant.
        _______________
            Salvatore  M. Giorlandino,  Assistant Attorney  General, with whom
            _________________________
        Scott  Harshbarger,   Attorney  General,  and  Phyllis   N.  Crockett,
        __________________                             ______________________
        Assistant Attorney General, were on brief, for appellees.

                                 ____________________
                                   OCTOBER 09, 1996
                                   OCTOBER 09, 1996
                                 ____________________



















                      LYNCH, Circuit Judge.  The      Commonwealth     of
                      LYNCH, Circuit Judge.
                             _____________

            Massachusetts State Board of Retirement  terminated plaintiff

            Gerald   W.  Clemente's   disability  retirement   and  group

            insurance benefits because of his conviction of a crime  four

            years earlier.   Clemente  had been federally  prosecuted and

            convicted for his involvement in the theft and sale of police

            promotional  exams, a  scheme  popularly known  as the  "Exam

            Scam."  See generally  United States v. Doherty, 867  F.2d 47
                    ___ _________  _____________    _______

            (1st Cir.),  cert. denied, 492  U.S. 918 (1989).   Clemente's
                         ____________

            crime, the Board reasoned, involved the  funds or property of

            a state agency and so justified the termination of Clemente's

            benefits under Mass. Gen. L. ch. 32,   15(1),  (3).  Clemente

            did not receive prior notice of the impending termination  of

            benefits; nor was he given an  opportunity to be heard.  Four

            years after the termination,  after Clemente had appealed the

            decision through the state administrative process,  the Board

            finally held a hearing.  It then determined that Clemente was

            not entitled  to receive the  benefits the Board  had earlier

            stopped paying.  The Board also determined that Clemente owed

            an  agency of  the  Commonwealth,  the Metropolitan  District

            Commission ("MDC"), sums in restitution for his crime.

                      In  the  interim, Clemente  had  filed  this action

            alleging  procedural and substantive  due process violations.

            The district court held  that the Board's initial termination

            of  Clemente's  benefits  violated Clemente's  constitutional



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                                          2















            right to procedural due process and  that the defendant Board

            members were individually liable.   The court determined that

            Clemente's federal  damages were  the payments he  would have

            received  up  to the  time of  an  adequate hearing  and then

            "offset" the  damages by the restitutionary  amount the Board

            had determined Clemente  owed to  the MDC on  account of  his

            crimes,  an  amount  apparently   greater  than  the  damages

            suffered.  Clemente  appeals from  the judgment,  complaining

            primarily of the offset.  We affirm.

                                    I.  Background

                      Clemente worked  as a  police officer with  the MDC

            until  May 28, 1983, when the Board granted him an accidental

            disability   retirement  due   to  his   hypertension,  which

            prevented him  from working.  Clemente  thereafter received a

            monthly allowance from the State Retirement System as well as

            group medical  insurance benefits  for himself and  his wife.

            In  November  1986,  Clemente  pleaded guilty  to  a  federal

            racketeering charge.   He  had participated  in  a scheme  to

            defraud  the  Commonwealth  by  stealing  police  promotional

            exams, giving or selling them to others, and altering scores.

            In  1988,  the Board  requested  an  opinion from  the  State

            Attorney  General as  to  the  effect  of the  conviction  on

            Clemente's entitlement  to  pension benefits.   The  Attorney

            General  responded in June 1990, advising  the Board that the

            Exam  Scam scheme, to the  extent that it actually succeeded,



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                                          3















            was  a crime that involved  MDC funds or  property within the

            meaning of Mass. Gen. L. ch. 32,   15.1

                      In July  1990, without giving  Clemente notice that

            such an action was contemplated, the Board voted to terminate

            his   benefits  based   upon  its   determination   that  his

            racketeering conviction was for an offense which involved the

            funds  or property  of  the MDC.    The Board  then  notified

            Clemente of its action and ceased paying benefits.

                                
            ____________________

            1.  The relevant portions of Mass. Gen.  L. ch. 32,   15 read
            as follows:

                      (1)    Misappropriation  of Funds.    Any
                             __________________________
                      member  who  has  been  charged  with the
                      misappropriation of funds or  property of
                      any  governmental  unit  in which  or  by
                      which he is employed  or was employed  at
                      the time of his retirement or termination
                      of service  . . . and who files a written
                      request  therefor  shall  be   granted  a
                      hearing  by the  board .  . .  .   If the
                      board after the hearing finds the charges
                      to be true, such member shall forfeit all
                      rights . . . to a retirement allowance or
                      to  a  return  of his  accumulated  total
                      deductions  . .  . to  the extent  of the
                      amount so found to be misappropriated and
                      to  the  extent  of   the  costs  of  the
                      investigation,  if any,  as found  by the
                      board. . . .

                      (3)      Forfeiture   of    Rights   upon
                               ________________________________
                      Conviction.  In no event shall any member
                      __________
                      after  final  conviction  of  an  offense
                      involving  the  funds  or  property  of a
                      governmental  unit .  . . referred  to in
                      subdivision  (1)  of  this   section,  be
                      entitled   to    receive   a   retirement
                      allowance  or a return of his accumulated
                      total deductions  . . . unless  and until
                      full    restitution    for    any    such
                      misappropriation has been made.

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                                          4















                      Clemente  appealed  to the  Contributory Retirement

            Appeal Board,  which, in September 1992,  remanded the matter

            to the  Board and  directed the  Board to  hold a  hearing if

            Clemente so  requested.  In 1994, the  Board finally notified

            Clemente of its intent  to initiate misappropriation  charges

            and then held  a hearing  upon his  request.   On January  4,

            1995,  the Board issued a  decision finding that Clemente had

            misappropriated MDC funds and owed restitution to  the MDC in

            the amount  of $239,146  plus interest and  ordered forfeited

            all his  rights to  his retirement allowance  and accumulated

            deductions.2

                      In 1993,  while the state administrative action was

            pending  but  before  the  Board  had  given  him  a hearing,

            Clemente filed  this federal  action under  42 U.S.C.    1983

            against  the Commonwealth,  the  Board, and  the members  who

            served on the Board  when Clemente's benefits were terminated

            in 1990.  Clemente claimed that the defendants terminated his

            disability retirement allowance  and medical benefits without

            notice  or  a  hearing, thus  violating  his  rights to  both

            substantive and procedural due process.  He also claimed that

            the  termination  constituted   further  punishment  for  his

            participation in  the Exam Scam, thus violating  his right to

                                
            ____________________

            2.  The Board found that "Clemente misappropriated the amount
            of $216,175.00 from the  MDC, and that he is  responsible for
            $22,971.00 in  costs of investigation.   The total  amount of
            restitution  due   the  MDC   is  the  principal   amount  of
            $239,146.00, plus interest."

                                         -5-
                                          5















            be free from double jeopardy.  He requested damages for these

            constitutional violations.3  The district court dismissed the

            claims against the Commonwealth and the Board, as well as the

            claims  against   the  Board   members   in  their   official

            capacities.  The Board members in their individual capacities

            are thus the only remaining defendants.

                      The district court withheld  decision on the matter

            until  after  the Board  issued  its  January 1995  decision.

            Thereafter,  on  cross  motions  for  summary  judgment,  the

            district court  held that  the Board had  violated Clemente's

            procedural due process  rights by failing to give  him notice

            and  a   hearing  before  terminating  his   benefits.    The

            defendants   did   not   dispute    that   Clemente   had   a

            constitutionally protected property interest in the benefits,

            and that,  under state law, he was  entitled to notice and an

            opportunity  to  be heard  before  the  Board terminated  the

            benefits.    The  district  court  rejected  the  defendants'

            argument  that   the  Board's   actions   were  "random   and

            unauthorized" acts that could  be cured by a post-deprivation

            hearing  under Parratt v.  Taylor, 451 U.S.  527, 541 (1981),
                           _______     ______

            overruled in part on other  grounds, Daniels v. Williams, 474
            ___________________________________  _______    ________

            U.S. 327, 330 (1986), and rejected the defendants' claims  of


                                
            ____________________

            3.  In   his  complaint,  Clemente  also  sought  prospective
            relief, but after  the Board  held a hearing  on the  matter,
            these prayers were  not pursued, although they have  not been
            formally dismissed.

                                         -6-
                                          6















            qualified  immunity.    In  addition,  the  court  held  that

            Clemente's  substantive  due  process  rights  had  not  been

            violated,  and it  also rejected  his double  jeopardy claim,

            holding that  the termination  of payments was  not punitive,

            and  even if  it  were,  that  the  Board's  action  was  not

            unconstitutional  because the  criminal  prosecution and  the

            termination  proceedings were brought by separate sovereigns.



                      The district court  accepted Clemente's  contention

            that the "deprivation decision could have been made no faster

            in  a  proper  fashion."     Therefore,  the  district  court

            calculated damages from  the due process violation  to be the

            pension benefits  Clemente would have received  from the time

            the benefits were terminated until the January 1995 decision,

            as  well as  out-of-pocket medical  expenses that  would have

            been covered under  the health insurance  plan.  That  amount

            was $104,064.85, plus interest.   However, the district court

            also determined that "[t]his amount may be used to offset the

            restitution  amount   Clemente  owes  as  a   result  of  the

            defendants'  January  4,  1995,   decision."    Clemente  has

            appealed  both the award of  the offset and  the rejection of

            his double jeopardy claim.4

                                 II.  Double Jeopardy



                                
            ____________________

            4.  Defendants have not appealed from the judgment.

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                                          7















                      Clemente  appeals the district court's holding that

            the Double Jeopardy Clause did not bar the termination of his

            benefits.     Even   assuming   arguendo  that   the  Board's
                                            ________

            termination of Clemente's  benefits constituted  punishment,5

            the  doctrine of  double  jeopardy does  not  apply to  suits

            brought by separate sovereigns.  Abbate v. United States, 359
                                             ______    _____________

            U.S. 187, 194 (1959); United States v. 40 Moon Hill Road, 884
                                  _____________    _________________

            F.2d 41, 43  (1st Cir.  1989).  Clemente  was convicted of  a

            federal offense in federal court.  The Double Jeopardy Clause

            does not bar  later action by  the Commonwealth to  terminate

            benefits and thereby recover sums it lost due to the offense,

            even if the termination were in part punitive.

                                   III.  The Offset

                      Clemente challenges  the  offset, arguing  that  it

            should be  reversed because it  was not  timely pleaded6  and

                                
            ____________________

            5.  The district court held  that the termination of benefits
            was purely remedial because it found that "[o]nce the MDC has
            been  fully reimbursed  for  the funds  or property  Clemente
            allegedly  misappropriated,  Clemente  will  be  entitled  to
            receive the remainder of his pension payments."  This finding
            was  apparently  based upon  a  1990  letter written  by  the
            Board's  legal  counsel.     However,  in  its  January  1995
            decision, the Board stated that "[Clemente] is ineligible for
            any retirement allowance under  the provisions of sections 1-
            28,  regardless  of  whether  he ever  makes  restitution  or
            whether  the Board  recovers  misappropriated funds  from the
            other  MDC  co-conspirators."     Because  we affirm  summary
            judgment  on  the  double  jeopardy  claim  on  the  separate
            sovereign theory, we need  not decide whether the termination
            was punitive in nature.

            6.  Defendants  first raised  the  issue  in pleadings  filed
            after  the summary judgment motion.  While the defendants ran
            a risk in being  so dilatory, the district court  reached the

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                                          8















            because  the  Board's  order  did  not  establish  a  legally

            enforceable  debt  for  the   amount  of  restitution.    The

            defendants  counter by  characterizing  the district  court's

            judgment as a permanent injunction, warranted by the equities

            in the case,  and argue that the district court did not abuse

            its  equitable discretion  in formulating  such relief.   The

            defendants  also argue  that  the offset  was appropriate  to

            prevent a windfall to Clemente.7

                      As the Supreme Court  said in Carey v. Piphus,  435
                                                    _____    ______

            U.S. 247, 258-59 (1978):

                      In  order  to further  the  purpose of   
                      1983,  the  rules governing  compensation
                      for injuries caused by the deprivation of
                      constitutional rights  should be tailored
                      to   the   interests  protected   by  the
                      particular right  in question --  just as
                      the    common-law   rules    of   damages
                      themselves were defined by  the interests
                      protected in the various branches of tort
                      law.



                                
            ____________________

            issue and  there was adequate opportunity for  Clemente to be
            heard.  We reach the issue as well.

            7.  The  defendants  assert   further  that   there  was   no
            procedural  due  process  violation, or  alternatively,  that
            there  were   no  actual  damages.     However,  because  the
            defendants failed to  file a cross-appeal, we do not consider
            the argument as to  liability.  An appellee is  not permitted
            to urge reversal of a judgment.  United States v. Lumbermens'
                                             _____________    ___________
            Mut. Casualty Co.,  917 F.2d  654, 658 n.6  (1st Cir.  1990);
            _________________
            Bath Iron Works Corp.  v. White, 584 F.2d  569, 573 n.2  (1st
            _____________________     _____
            Cir. 1978); 15A Wright et al., Federal Practice and Procedure
                                           ______________________________
              3904,  at  196 (2d  ed.  1992).   Nor have  the  defendants
            appealed  from  the measure  of  damages  awarded before  the
            offset, and so we  do not express any views  on the propriety
            ab initio of that award.

                                         -9-
                                          9















            Here, the  district court  was concerned about  fashioning an

            award to  the  plaintiff that  would  "redress," to  use  the

            language of   1983,  his actual injuries.  The  court's order

            was  intended to  permit "judgment to  be rendered  that does

            justice  in  view  of  the   one  transaction  as  a  whole."

            Rothensies v. Electric Storage Battery Co., 329 U.S. 296, 299
            __________    ____________________________

            (1946).

                      The remedial order  is to  be read as  a whole  and

            provides:

                           The  clerk  is  directed   to  enter
                      judgment  for   the  plaintiff  directing
                      defendants first to apply as an offset to
                      the  restitutionary  award  made  against
                      plaintiff by the defendants'  decision of
                      January  4, 1995, an  amount equal to the
                      [damages plaintiff suffered  in terms  of
                      pension benefits and medical expenses].

            The order also establishes  a mechanism that accommodates the

            fact that Clemente  has appealed the Board's January  4, 1995

            decision in state court:

                           The Board's January 4, 1995 decision
                      recites that such an offset would be "far
                      exceeded by the principle [sic] amount of
                      restitution    due."         Under    the
                      circumstances,   it   does   not   appear
                      necessary for this court to calculate the
                      precise offset in order to adjudicate the
                      issues  between  the   parties  in   this
                      litigation.   Of course, if there is such
                      a dispute, it may be resolved in light of
                      the   principles   developed  in     this
                      Memorandum,    through    the    ordinary
                      administrative process.

            By  this mechanism, we understand that should the state court

            reject or revise the Board's decision, a corollary adjustment


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                                          10















            would  be made in the  amount, if any,  recoverable under the

            federal order.  The issue  here is whether such an  order was

            within  the  power of  the  court  and represented  a  proper

            exercise of its discretion.

                      Clemente  is correct  that  this is  not a  classic

            "set-off," within the technical meaning of the term.  A "set-

            off"  is  a  "'counter-claim  demand  which  defendant  holds

            against plaintiff, arising out  of a transaction extrinsic of

            plaintiff's  cause of  action.'"   United Structures  of Am.,
                                               __________________________

            Inc. v. G.R.G. Eng'g,  S.E., 9 F.3d 996, 998  (1st Cir. 1993)
            ____    ___________________

            (quoting Black's  Law Dictionary  1230 (5th ed.  1979)).   In
                     _______________________

            this  case, however,  the debts  were not  reciprocal, as  is

            usually  true  in a  set-off.   Clemente's  damages  ran only

            against  the  members  of   the  Board  in  their  individual
                                                               __________

            capacities,8 while the restitution award was due the  MDC, an

            agency  of the  Commonwealth.   Thus, the  mutuality  of debt

            generally  required to support  a set-off was  lacking.9  But





                                
            ____________________

            8.   The claims  against the Commonwealth and the  Board were
            dismissed and  the federal  claims were dismissed  insofar as
            they sought retroactive damages  against the members in their
            official capacities.
            ________

            9.  Some  courts  have  held   that  there  is  an  equitable
            exception  to the  mutuality  requirement  when  it  "becomes
            necessary to effect a clear equity or to prevent irremediable
            injustice."  Black  &amp; Decker Mfg.  Co. v. Union Trust  Co., 4
                         _________________________    ________________
            N.E.2d 929, 930 (Ohio App. Ct. 1936).  We find it unnecessary
            to reach this issue.

                                         -11-
                                          11















            Clemente's  argument  that  it is  not  a  set  off10 in  the

            end proves nothing.

                      Despite defendants'  inappropriate characterization

            of the  relief as injunctive relief, we  believe the district

            court was exercising its equitable judgment in fashioning the

            remedy.  We  start with  the premise that  "[t]he measure  of

            damages in section 1983 actions is a matter of federal common

            law."  Figueroa-Rodriguez v. Aquino, 863 F.2d 1037, 1045 (1st
                   __________________    ______

            Cir. 1988);  see also Sullivan  v. Little Hunting  Park, Inc.
                         ________ ________     __________________________

            396 U.S. 229, 240 (1969) ("The rule of damages, whether drawn

            from federal or  state sources, is a federal  rule responsive


                                
            ____________________

            10.  One response to Clemente's argument is that even the law
            of    damages   recognizes    in   certain    instances   the
            appropriateness  of offsetting  awards,  under  the guise  of
            "recoupment."    A recoupment  is "'a reduction  or rebate by
            the defendant of part  of the plaintiff's claim because  of a
            right in the defendant arising out of the same transaction.'"
            United  Structures,  9  F.3d  at  998  (quoting  Black's  Law
            __________________                               ____________
            Dictionary  1147 (5th  ed. 1979)).   Recoupment  may  only be
            __________
            asserted to diminish  or defeat a plaintiff's  claim.  Reiter
                                                                   ______
            v. Cooper, 507 U.S. 258, 264 (1993); Nashville Lodging Co. v.
               ______                            _____________________
            Resolution  Trust Corp., 59 F.3d 236, 246 (D.C. Cir. 1995); 6
            _______________________
            Wright et al., Federal  Practice and Procedure   1401, at  10
                           _______________________________
            (2d ed. 1990).   In United  Structures, 9 F.3d at  999, then-
                                __________________
            Chief Judge Breyer pointed out the  relevance of the doctrine
            of recoupment to cases such as Clemente's:

                           Recoupment .  . . is "in  the nature
                      of a defense" and is intended to  "permit
                      . .  . judgment to be  rendered that does
                      justice in view of the one transaction as
                      a whole."

            Id.  (quoting Rothensies,  329 U.S.  at 299).   The  court in
            ___           __________
            United Structures further commented  that the plaintiff "has,
            _________________
            in a sense, no right to funds subject to recoupment."  Id. at
                                                                   ___
            998.  

                                         -12-
                                          12















            to  the need  whenever a  federal right  is impaired.").   We

            review the exercise of  equitable jurisdiction under an abuse

            of  discretion standard.    Ferrofluidics Corp.  v.  Advanced
                                        ___________________      ________

            Vacuum Components, Inc., 968 F.2d 1463, 1471 (1st Cir. 1992).
            _______________________



                      In federal courts, law and equity jurisdictions are

            merged.  Fed. R. Civ. P. 2.  Thus, Clemente's legal  argument

            on  set  off  does not  cut  back  on  the court's  equitable

            remedial  power.   One  commentator has  noted that  "[a]fter

            merger,  a court having both  law and equity  powers may give

            the plaintiff any remedy justified by pleading and proof."  2

            Dobbs, Law of  Remedies   2.6(1), at 150 (2d  ed. 1993).  The
                   ________________

            ancient distinctions between law  and equity, helpful in some

            contexts, see Beacon Theatres, Inc. v. Westover, 359 U.S. 500
                      ___ _____________________    ________

            (1959),  are less  so here.   "[W]ith the  merger of  law and

            equity  it is difficult to  see why equitable defenses should

            be limited to equitable suits anymore, and of course many are

            not  so limited . . . ."   Byron v. Clay, 867 F.2d 1049, 1052
                                       _____    ____

            (7th Cir. 1989) (Posner, J.).11  Courts also have articulated

            the broader principle  "that adjures a court to  consider the

                                
            ____________________

            11.  Upholding  in Byron  the dismissal  of a    1983  action
                               _____
            brought  by  a  former   government  employee  who  had  been
            discharged for political reasons and who sought reinstatement
            to a  "ghost job" (a job  for which no work  was required but
            for which  a salary was  paid), Judge  Posner noted:   "It is
            enough  to observe that a  highwayman who decided  to sue his
            partner  for common law damages  as well as  for an equitable
            accounting for  profits would  surely have gotten  no further
            with his 'legal' claim than with his 'equitable' one."  Id.
                                                                    ___

                                         -13-
                                          13















            third party effects  of equitable  relief and  to shape  that

            relief accordingly."  Id. at 1051.  
                                  __

                      In fashioning  a remedy under    1983, trial judges

            may  consider the equities of the matter.  "[T]he hallmark of

            equity  is  the ability  to  assess  all relevant  facts  and

            circumstances and tailor appropriate relief on a case by case

            basis."  Rosario-Torres v. Hernandez-Colon, 889 F.2d 314, 321
                     ______________    _______________

            (1st Cir.  1989)  (en banc)  (whether to  reinstate a  public

            employee  fired   in  violation  of     1983  is  within  the

            discretion of trial court); see also  Walker v. Waltham Hous.
                                        ________  ______    _____________

            Auth.,  44 F.3d 1042, 1048  (1st Cir. 1995)  (trial judge was
            _____

            "unquestionably  within  her  authority in  holding  that the

            equities  did not  warrant [reinstatement  to public  job]").

            "The substantive scope of relief available is a matter of the

            equitable powers of the  federal courts.  Accordingly, courts

            have exercised broad remedial power in civil rights actions."

            Knecht v.  Gillman,  488 F.2d  1136,  1140 (8th  Cir.  1973).
            ______     _______

            Whatever the  limits of a federal  court's equitable remedial

            power in an  action under  42 U.S.C.    1983, we believe  the

            "restitution"  order here is  well within that  scope and was

            proper.   Restitution orders  requiring criminals  to restore

            the victim to the victim's original position are of venerable

            origin.    See  Note,  Victim  Restitution  in  the  Criminal
                       ___         ______________________________________

            Process; A  Procedural Analysis, 97  Harv. L.  Rev. 931,  933
            _______________________________

            (1984).  



                                         -14-
                                          14















                      Here, due to  the mechanisms implementing  Eleventh

            Amendment  guaranties,  the  damages  were   awarded  against

            individual defendants,  and the  restitution was owed  not to

            these defendants, but to a state agency.  See Hafer  v. Melo,
                                                      ___ _____     ____

            502  U.S. 21, 26-30 (1991).   However, we  think the district

            court was entitled to consider the close relationship between

            the  individual  defendants --  state  officials  -- and  the

            state.      In  fact,   defendants   were   exercising  their

            responsibilities  as state officials  in the  very activities

            that gave rise to this litigation.

                      Despite  the  distinction  between  the  individual

            defendants  and the  state agency,  the district  court could

            look  to the  underlying  reality  of  the situation.    "The

            essence of  equity jurisdiction has been  the power . .  . to

            mould each decree to the necessities of the particular case."

            Hecht Co.  v. Bowles, 321 U.S.  321, 329 (1944).   This is an
            _________     ______

            unusual case, with a fact pattern not likely to recur, and we

            think the district court was sensitive to the realities.  The

            alleged procedural  due process  violation and the  basis for

            the assertion of  the setoff arise from related  questions as

            to  what plaintiff  is  in  fact  due  by  way  of  benefits,

            questions arising from the statutory  scheme the Commonwealth

            has  created in  Gen.  L. ch.  30.   These are  not unrelated







                                         -15-
                                          15















            parties  or  unrelated  matters.12   Indeed,  the  order  was

            entered against a  backdrop in which the Board,  after giving

            Clemente  the hearing to which he was entitled, found that he

            was not entitled to benefits.

                      Clemente  argues  strenuously  that  reversing  the

            offset  will produce no windfall because there is no right of

            recoupment  unless  he  wishes  to have  his  pension  rights

            reinstated under Mass.  Gen. L.  ch. 32,    15.13  The  state

            courts will address the  state law issues here on  Clemente's

            appeal  from  the Board's  order.   The district  court order

            provides a  mechanism for adjustment which,  depending on the

            outcome  of   that  appeal,  should  avoid   the  problem  of

            overpayment  to either  side.   In any  event, the  state law




                                
            ____________________

            12.  As  a  result, we  express no  views  on whether  such a
            restitutionary order  in favor  of a truly  independent third
            party, or based  on unrelated transactions, could  be used to
            set off a judgment.

            13.  This may or may not  be a correct reading of state  law.
            For  example, Mass.  Gen. L.  ch. 32,    15(1)  provides that
            "[i]f  the  Board after  the  hearing finds  the  charges [of
            misappropriation] to  be true, such member  shall forfeit all
                                                              _______
            rights .  . . ."   Id. (emphasis added); see  also DeLeire v.
                               ___                   _________ _______
            Contributory  Retirement  Appeal  Bd., 605  N.E.2d  313,  316
            _____________________________________
            (Mass.  App.  Ct. 1993)  ("In accordance  with  G.L. c.  32  
            10(4),  [plaintiff]   is  entitled  to  the   return  of  his
            accumulated total  deductions.    That  right  is  qualified,
            however, by G.L.  c. 32    15(3), which  provides that,  upon
            conviction of  an offense  involving misappropriation of  any
            funds  of  the  governmental unit  in  which  the person  was
            employed, such return is conditioned upon the making  of full
            restitution of the funds misappropriated."), rev. denied, 617
                                                         ___________
            N.E.2d 640 (Mass. 1993).

                                         -16-
                                          16















            issues,  while  informing  the  federal court's  exercise  of

            discretion, do not define the limits of that discretion.

                      Each side cites to  us the Eighth Circuit decisions

            in  Hankins v. Finnel, 964 F.2d 853 (8th Cir.), cert. denied,
                _______    ______                           ____________

            506 U.S. 1013 (1992) and Beeks  v. Handley, 34 F.3d 658  (8th
                                     _____     _______

            Cir. 1994).  While neither Hankins nor Beeks is on point (and
                                       _______     _____

            each raises issues  extraneous to this  case), we agree  with

            the Eighth Circuit that   1983 relief must be consistent with

            the deterrence goal inherent in   1983.  An important purpose

            of    1983  is  "to  serve  as  a  deterrent  against  future

            constitutional  deprivations."  Owen v. City of Independence,
                                            ____    ____________________

            445 U.S.  622, 651 (1980).   Along  with the  Beeks court  we
                                                          _____

            conclude that  "victim restitution  does not defeat    1983's

            deterrence goal.14   Beeks, 34 F.3d  at 661; see also  Doe v.
                                 _____                   ___ ____  ___

            Morgenthau, 871 F. Supp. 605, 611 (S.D.N.Y. 1994) ("Any claim
            __________

            . . . on behalf of plaintiff's victims would be  an offset to

            plaintiff's claims  against the People and  could be asserted

            as of right.").

                      Ultimately,  the  deterrence  argument   must  also

            accommodate  "the  factual  permutations  and  the  equitable

            considerations they raise" on a case by case basis.  McKennon
                                                                 ________

                                
            ____________________

            14.  Indeed,   Clemente  was  awarded  attorney's  fees,  not
            subject to  the offset.  Attorney's fee awards are themselves
            a  deterrent.   Congress  must have  believed  so when,  in a
            related  area of law, it  enacted the 1991  Civil Rights Act,
            which  provides  for recovery  of  attorney's  fees in  mixed
            motive  cases even when  actual damages are  unavailable.  42
            U.S.C.   2000e-5(g)(2)(B).  

                                         -17-
                                          17















            v. Nashville Banner  Pub. Co.,  115 S. Ct.  879, 886  (1995).
               __________________________

            While  McKennon was  an ADEA  action, the  related deterrence
                   ________

            argument there  did not trump  a damages remedy  which fairly

            accounts for  a plaintiff's  own wrongdoing.   McKennon holds
                                                           ________

            that  where after-acquired evidence  demonstrates an employer

            would  have  terminated  plaintiff anyway,  even  though  the

            employer  had a  discriminatory motive,  the plaintiff,  as a

            general rule, is not entitled to front  pay or reinstatement,

            nor  to  back-pay  damages  extending  beyond  the  time  the

            employer  learned about  the  employee wrongdoing  that would

            have  led to legitimate  discharge.15  Id.   The compensation
                                                   ___

            analysis here fairly accounted for plaintiff's own wrongdoing

            and does not undermine the deterrent effect of the statute.

                                   IV.  Conclusion

                      We  conclude  that   the  district  court  properly

            granted summary judgment  in favor of  the defendants on  the

            plaintiff's  double  jeopardy claim  and  did  not abuse  its

            discretion in fashioning the  remedial order.  We affirm  the

            judgment.




                                
            ____________________

            15.  It is not difficult to imagine a  situation where, under
            McKennon, an illegally discharged  employee might win a civil
            ________
            rights suit,  yet still  walk away empty-handed,  as Clemente
            does in this case.   For instance, if the  employer discovers
            the after-acquired evidence  which would justify  termination
            on  the  same  day  as  the  illegal  discharge,  or  shortly
            afterwards, plaintiff's back-pay damages would be nonexistent
            or minimal.

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